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                 Exhibit J
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Attorneys for Plaintiff Kewazinga Corp.

                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

KEWAZINGA CORP.,                          )
                                          )
                      Plaintiff,          )
                                          )   Civil Action No. 1:20-cv-01106-LGS
vs.                                       )
                                          )
GOOGLE LLC,                               )
                                          )
                      Defendant.          )


                 KEWAZINGA CORP.’S PRELIMINARY PROPOSED
               CLAIM CONSTRUCTIONS AND EXTRINSIC EVIDENCE

       In compliance with the Court’s Scheduling Order and P.R. 4-2, Plaintiff Kewazinga

Corp. (“Kewazinga”) (1) submits its preliminary proposed constructions of the claim terms,

phrases, and clauses that the parties have identified pursuant to P.R. 4-1; (2) provides a

preliminary identification of extrinsic evidence that it may rely upon to support its claim

construction positions; and (3) provides an identification of any expert witnesses Kewazinga may
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rely upon to support its claim construction positions as well as brief description of the substance

of those witnesses’ proposed testimony.

I.      Kewazinga’s Preliminary Claim Construction

        Kewazinga’s proposed construction of the following terms is not intended to indicate that

Kewazinga agrees that those terms need to be construed by the Court. Kewazinga asserts that no

construction is necessary for many of the terms and phrases that the Defendant seeks to construe

and, therefore, reserves the right to object to Defendant’s proposed constructions on that basis;

however, Kewazinga nonetheless discloses its preliminary constructions in the event that the

Court elects to construe the terms and phrases proposed by Defendant. In addition, Defendant

proposes construing phrases that are not found in any claim that Kewazinga has asserted in this

litigation as set forth in Kewazinga’s June 8, 2020 Infringement Contentions (“Asserted

Claims”) and, thus, are not at issue in this litigation. Accordingly, Kewazinga reserves the right

to object to any construction of such terms that are not at issue in this litigation.

        Kewazinga has also set forth below its preliminary identification of extrinsic evidence.

The identified sources are exemplary and not necessarily exhaustive. Also, that identification

should not be construed as agreement that extrinsic evidence is necessary or proper in construing

the disputed terms.

        The disclosures found in this document are based upon information reasonably available

to Kewazinga at this time and are made without prejudice to Kewazinga’s right to modify or

supplement these disclosures in the future (or to present other evidence or argument), including

as a result of the discovery or development of this or further information.             Kewazinga,

accordingly, reserves the right to modify or supplement its proposed constructions and

specifically reserves the right to offer separate constructions for claim terms that are singly

construed in this document, to the extent permitted by the applicable rules or by the Court. In


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addition, Kewazinga reserves the right to supplement its list of extrinsic material, including to

add references Kewazinga may rely on to refute or rebut Defendant’s proposed constructions and

evidence. Also, Kewazinga may, in light of Defendant’s proposed constructions, add extrinsic

evidence, including expert testimony, that it will rely on to refute or rebut Defendant’s proposed

constructions and evidence, and specifically reserves the right to do so.



        Claim Term, Phrase, or                              Kewazinga’s
               Clause                                   Proposed Construction

 1    mosaicing                         creating imagery assembled from a plurality of images, or
                                        portions thereof, including an alignment process and a
      (325 patent, claims 1, 5, 6)
                                        composition process

 2    mosaic imagery                    imagery created by mosaicing
      (234 patent, claims 1, 3, 13,
      16)

 3    mosaic images                     images created by mosaicing
      (325 patent, claim 6)

 4    generate mosaic imagery           create mosaic imagery
      (234 patent, claim 1)

 5    mosaic imagery along the          This phrase should be construed in accordance with the
      [first] [second] view             proposed claim construction of the term “mosaic
                                        imagery” and the plain and ordinary meaning of the
      (234 patent, claim 1)
                                        remaining words in the phrase.

 6    mosaic imagery of                 This phrase should be construed in accordance with the
      progressively different           proposed claim construction of the term “mosaic
      locations along the [first]       imagery” and the plain and ordinary meaning of the
      [second] view                     remaining words in the phrase.
      (234 patent, claim 13)




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      Claim Term, Phrase, or                             Kewazinga’s
             Clause                                  Proposed Construction

7    mosaicing the selected outputs This phrase should be construed in accordance with the
     of cameras in the [first]      proposed claim construction of the term “mosaicing” and
     [second] path                  the plain and ordinary meaning of the remaining words in
                                    the phrase.
     (325 patent, claim 1)


8    sequentially mosaicing the     This phrase should be construed in accordance with the
     selected outputs of cameras in proposed claim construction of the term “mosaicing” and
     the [first] [second] path      the plain and ordinary meaning of the remaining words in
                                    the phrase.
     (325 patent, claim 1)

9    mosaicing the image of a         This phrase should be construed in accordance with the
     current camera in the            proposed claim construction of the term “mosaicing” and
     sequence to the image of a       the plain and ordinary meaning of the remaining words in
     next camera in the sequence      the phrase.
     (325 patent, claim 5)

10   mosaicing the first image with   This phrase should be construed in accordance with the
     the second image and then        proposed claim construction of the term “mosaicing” and
     mosaicing the second image       the plain and ordinary meaning of the remaining words in
     with the third image             the phrase.
     (325 patent, claim 6)

11   tweening                        generating synthetic imagery from acquired imagery, and
     (325 patent, claims 10, 14, 15; utilizing that synthetic imagery between the acquired
                                     imagery, in order to show movement and transition
     234 patent, claims 7, 19, 20)
                                     between the acquired imagery

12   tweened imagery                  imagery created by tweening
     (234 patent, claims 6, 19)

13   tweened image                    image created by tweening
     (325 patent, claim 15)

14   tweened                          This term should be construed in accordance with the
                                      proposed claim construction of the term “tweening.”
     (234 patent, claim 6)



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       Claim Term, Phrase, or                              Kewazinga’s
              Clause                                   Proposed Construction

15   tweening the selected outputs     This phrase should be construed in accordance with the
     of cameras in the [first]         proposed claim construction of the term “tweening” and
     [second] path                     the plain and ordinary meaning of the remaining words in
                                       the phrase.
     (325 patent, claim 10)

16   tweening the image of a           This phrase should be construed in accordance with the
     current camera in the             proposed claim construction of the term “tweening” and
     sequence to the image of a        the plain and ordinary meaning of the remaining words in
     next camera in the sequence       the phrase.
     (325 patent, claim 14)

17   cause imagery of two or more This phrase should be construed in accordance with the
     different perspectives along proposed claim construction of the term “tweening” and
     the first view to be tweened the plain and ordinary meaning of the remaining words in
                                  the phrase.
     (234 patent, claim 6)

18   tweening imagery of two or        This phrase should be construed in accordance with the
     more different perspectives       proposed claim construction of the term “tweening” and
     along the first view              the plain and ordinary meaning of the remaining words in
                                       the phrase.
     (234 patent, claim 19)

19   tweening the first image with     This phrase should be construed in accordance with the
     the second image to obtain a      proposed claim construction of the term “tweening” and
     first tweened image and then      the plain and ordinary meaning of the remaining words in
     tweening the second image         the phrase.
     with the third image to obtain
     a second tweened image
     (325 patent, claim 15)

20   array of cameras                  No construction is necessary. However, if the Court rules
                                       that one is necessary, Kewazinga proposes the following
     (226 patent, claims 55, 119;
     325 patent, claims 1, 5, 6, 10,   construction:
     14, 15, 29)                       a camera configuration wherein the configuration can be
                                       created over time by moving cameras




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      Claim Term, Phrase, or                              Kewazinga’s
             Clause                                   Proposed Construction

21   navigation along paths in a      No construction is necessary because this phrase is not
     camera array wherein each        found in any Asserted Claim and, thus, is not at issue in
     path is a series of cameras      this case. However, if the Court rules that one is
     having progressively different   necessary, Kewazinga proposes that this phrase should be
     perspectives of the              construed in accordance with the proposed claim
     environment, whereby users       construction of the term “array of cameras” and the plain
     progressively navigate           and ordinary meaning of the remaining words in the
     through the environment          phrase.
     along the paths

22   the array including at least     This phrase should be construed in accordance with the
     one camera path wherein each     proposed claim construction of the term “array of
     path is defined by a series of   cameras” and the plain and ordinary meaning of the
     cameras having progressively     remaining words in the phrase.
     different perspectives of the
     environment
     (325 patent, claims 1, 10)

23   progressively different          No construction is necessary because this phrase is not
     associated view of the           found in any Asserted Claim and, thus, is not at issue in
     environment along a path         this case. However, if the Court rules that one is
                                      necessary, Kewazinga proposes the following
     (226 patent, claims 91, 99)
                                      construction:
                                      progressively different respective view of the
                                      environment from a different location along a path

24   view through the environment No construction is necessary. However, if the Court rules
                                  that one is necessary, Kewazinga proposes the following
     (234 patent, claims 1, 13)
                                  construction:
                                      view from progressively different locations within the
                                      environment

25   viewing the environment         No construction is necessary. However, if the Court rules
     along the [first] [second] view that one is necessary, Kewazinga proposes the following
                                     construction:
     (234 patent, claim 13)
                                      viewing from progressively different locations within the
                                      environment




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           Claim Term, Phrase, or                             Kewazinga’s
                  Clause                                  Proposed Construction

 26       compositing imagery of the      No construction is necessary because this phrase is not
          different perspectives of the   found in any Asserted Claim and, thus, is not at issue in
          environment along the first     this case. However, if the Court rules that one is
          view                            necessary, Kewazinga proposes the following
                                          construction:
          (234 patent, claim 23)
                                          combining imagery of a first perspective along the first
                                          view and imagery of a second perspective along the first
                                          view using blue screen, green screen, or alpha techniques

 27       having an associated view of    No construction is necessary. However, if the Court rules
          the environment from a          that one is necessary, Kewazinga proposes the following
          progressively different point   construction:
          perspective
                                          having a respective view of the environment at
          (226 patent, claim 119)         progressively different locations


II.       Kewazinga’s Extrinsic Evidence

          Kewazinga identifies extrinsic evidence upon which it may rely to support its claim

construction positions. Attached hereto as Exhibits 1-8 are copies of the references listed below.

By identifying this extrinsic evidence, Kewazinga does not concede that extrinsic evidence is

necessary to construe the claim terms at issue. In addition, Kewazinga reserves the right to rely

on additional extrinsic evidence to rebut or refute Defendant’s proposed constructions and

evidence.

          A.      References

         Exhibit 1 - Random House Webster’s College Dictionary (1991) at 76 (definition of
          “array”)
         Exhibit 2 - 2009 Wikipedia entry for “Inbetweening” (available at
          https://web.archive.org/web/20090807075646/http://en.wikipedia.org:80/wiki/
          Inbetweening)
         Exhibit 3 - 2005 Wikipedia entry for “Inbetweening” (available at
          https://en.wikipedia.org/w/index.php?title=Inbetweening&oldid=15184984)
         Exhibit 4 - 2011 Techopedia entry for “In-betweening (tweening)” (available at
          https://web.archive.org/web/20110718103617/https://www.techopedia.com/definition/
          104/in-betweening-tweening)


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          Exhibit 5 -1997 Webopedia entry for “Tweening”) (available at
           https://web.archive.org/web/20021018111718/https://www.webopedia.com/TERM/T/
           tweening.html)
          Exhibit 6 - Definitions.net entry for “inbetweening” (available at
           https://www.definitions.net/print.php?term=inbetweening)
          Exhibit 7 - American Heritage College Dictionary (1993) at 1020 (definition of
           “perspective”)
          Exhibit 8 - Merriam Webster’s Collegiate Dictionary (1993) at 867-68 (definition of
           “perspective”)

           B.     Expert Testimony

           In addition to the extrinsic evidence disclosed above, Kewazinga may, for each term,

present the expert testimony of Dr. Keith Hanna and/or Dr. Jeffrey Lubin, through a declaration

and/or live testimony.       Attached hereto as Exhibit 9 is a complete copy of Dr. Hanna’s

curriculum vitae and attached hereto as Exhibit 10 is a complete copy of Dr. Lubin’s curriculum

vitae. Dr. Hanna and/or Dr. Lubin may provide testimony on, inter alia, (1) the technology that

underlies the patents-in-suit, (2) the inventions claimed in the patents-in-suit, (3) how the

patents-in-suit, the claims, and intrinsic or extrinsic evidence would be understood by one of

ordinary skill in the art, (4) the meanings of the disputed claim terms and phrases to those having

ordinary skill in the art – specifically that, in their respective opinions, Kewazinga’s proposed

claim constructions comport with the understanding of one of ordinary skill in the art – or (5)

any other opinions or testimony useful to the Court in conducting the requisite claim

constructions. Finally, Kewazinga reserves the right to offer the testimony of Dr. Hanna and/or

Dr. Lubin and other extrinsic evidence to rebut expert testimony or other extrinsic evidence, if

any, offered by Defendant in support of its claim construction positions.

III.       Indefiniteness

           Defendant provides a laundry list of claim terms and phrases that it purports are invalid

as indefinite.     This includes terms and phrases that Defendant indicates it will propose a




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construction for as well as terms and phrases that are not found in any Asserted Claim. Thus,

Defendant’s purported identification fails to provide Kewazinga with notice of what claim terms

and phrases Defendant actually contends are indefinite. Nonetheless, Kewazinga disputes that

any claim terms or phrases in the Asserted Claims, including those identified by Defendant, are

indefinite and reserves the right to more fully respond to any assertion by Defendant that specific

claim terms or phrases are indefinite, including by proposing constructions for those terms and

phrases.



 Dated: New York, New York
        September 11, 2020                          Respectfully submitted,



                                                    /s/ Ian G. DiBernardo
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                               CERTIFICATE OF SERVICE

         I hereby certify that on September 11, 2020 I caused a true and correct copy of the

KEWAZINGA CORP.’S PRELIMINARY PROPOSED CLAIM CONSTRUCTIONS AND

EXTRINSIC EVIDENCE to be served in accordance with the Federal Rules of Civil

Procedure, and/or the Local Rules of this Court, upon the following parties and participants, via

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